        Case:18-10130-SDB Doc#:19 Filed:02/18/18 Entered:02/19/18 00:52:14                                            Page:1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Georgia
In re:                                                                                                     Case No. 18-10130-SDB
Diane Mance Bussey                                                                                         Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113J-1                  User: ctardiff                     Page 1 of 2                          Date Rcvd: Feb 16, 2018
                                      Form ID: GASB80                    Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 18, 2018.
db             +Diane Mance Bussey,    827 Francis Drive,    Thomson, GA 30824-7606
7059490        +Anthony’s Auto Sales,    1214 Washington Road,    Thomson GA 30824-7324
7059496        +Comenity Bank/goodys,    Attn: Bankruptcy,    Po Box 182125,   Columbus OH 43218-2125
7059497        +Covington Credit-GA 07,    752 Broad Street,    Augusta GA 30901-1306
7059498        +David W. Perry, DMD,    231 Davis Road,    Augusta GA 30907-2407
7059500        +Drs. Jopling & Brunson,    115 Gordon Street,    Thomson GA 30824-1537
7059501        +Equity Auto Loans Ll (TitleMax),    15 Bull Street Suite 200,     Savannah GA 31401-2686
7059503        +Figis Co Inc,   Po Box 7713,    Marshfield WI 54449-7713
7059506        +Hughes Furniture,    124 Jackson Street,    Thomson GA 30824-2017
7059508         McDuffie Regional Medical,    521 Hill Street NW,    Thomson GA 30824
7059507        +Mcb,   955 Greene St,    Augusta GA 30901-2231
7059512        +Southern Specialty Finance/Check N Go,     dba Check N’ Go,   348 E. Martintown Road,
                 North Augusta SC 29841-5808
7059515        +University Hospital,    1350 Walton Way,    Augusta GA 30901-2629

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr              E-mail/Text: corporatecredit@farmersfurniture.com Feb 16 2018 18:45:43         Farmers Furniture,
                 Attn: Corporate Credit,    P O Box 1140,     Dublin, GA 31040-1140
7059492         E-mail/Text: g17768@att.com Feb 16 2018 18:45:12        AT&T,   PO Box 105503,
                 Atlanta GA 30348-5503
7059489        +E-mail/Text: BANKRUPTCY@LANIERCOLLECTIONS.COM Feb 16 2018 18:46:12
                 Anesthesia & Pain Med Assoc,     c/o LCA,    POI Box 15519,   Savannah GA 31416-2219
7059491        +E-mail/Text: bankruptcy@sccompanies.com Feb 16 2018 18:46:36         Ashro,   1112 7th Ave,
                 Monroe WI 53566-1364
7059493        +E-mail/Text: bnc@atlasacq.com Feb 16 2018 18:45:14        Atlas Acquisitions,     294 Union Street,
                 Hackensack NJ 07601-4303
7059494         E-mail/Text: bankruptcies@mcbs.com Feb 16 2018 18:46:21        Brown and Radiology Associates,
                 PO Box 3845,    Augusta GA 30914-3845
7059495        +E-mail/Text: flr_bankruptcynotice@cable.comcast.com Feb 16 2018 18:46:16          Comcast,
                 105 Rivershoals Parkway,    Augusta GA 30909-0235
7059499         E-mail/Text: bankruptcy.bnc@ditech.com Feb 16 2018 18:45:27         Ditech Financial LLC,
                 PO Box 6172,    Rapid City SD 57709-6172
7059502         E-mail/Text: corporatecredit@farmersfurniture.com Feb 16 2018 18:45:43         Farmers Furniture,
                 Attn: Bankruptcy Department,     Po Box 1140,    Dublin GA 31040
7062712         E-mail/Text: corporatecredit@farmersfurniture.com Feb 16 2018 18:45:43
                 Farmers Furniture - Thomson, GA,     Attn: Corporate Credit,     P.O. Box 1140,    Dublin, GA 31040
7059504        +E-mail/Text: bnc-bluestem@quantum3group.com Feb 16 2018 18:46:16         Fingerhut,
                 Bankruptcy Dept,    6250 Ridgewood Rd,     Saint Cloud MN 56303-0820
7059509        +E-mail/Text: bankruptcy.noticing@security-finance.com Feb 16 2018 18:45:14          Security Fin,
                 C/O Security Finance,    PO Box 3146,     Spartanburg SC 29304-3146
7059510        +E-mail/Text: wmcbkdept@waltersmgmt.com Feb 16 2018 18:46:24         Service Loan Company,
                 Po Box 2935,    Gainesville GA 30503-2935
7059511        +E-mail/Text: bankruptcy@sccompanies.com Feb 16 2018 18:46:36         Seventh Avenue,
                 Seventh Avenue,    1112 7th Ave,    Monroe WI 53566-1364
7059513         Fax: 912-629-1539 Feb 16 2018 19:13:36        Title Max of Augusta,    1001 Washington Road,
                 Thomson GA 30824-7318
7059514        +E-mail/Text: bankruptcy@unitedacceptance.com Feb 16 2018 18:45:47         United Acceptance Inc,
                 2400 Lake Park Dr,    Smyrna GA 30080-8993
                                                                                                 TOTAL: 16

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
7059505         ##Hickory Hill Emerg Physicians,   PO Box 37767,   Philadelphia PA 19101-5067
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 18, 2018                                            Signature: /s/Joseph Speetjens
      Case:18-10130-SDB Doc#:19 Filed:02/18/18 Entered:02/19/18 00:52:14                      Page:2 of 3


District/off: 113J-1          User: ctardiff              Page 2 of 2                  Date Rcvd: Feb 16, 2018
                              Form ID: GASB80             Total Noticed: 29

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 16, 2018 at the address(es) listed below:
              Dempsey Clay Ward   on behalf of Debtor Diane Mance Bussey wardspires@aol.com,
               christinakapral@wardandspires.com
              Huon Le    notices@chp13aug.org
              Office of the U. S. Trustee   Ustpregion21.sv.ecf@usdoj.gov
                                                                                             TOTAL: 3
  Case:18-10130-SDB Doc#:19 Filed:02/18/18 Entered:02/19/18 00:52:14                                   Page:3 of 3

                        UNITED STATES BANKRUPTCY COURT
                                         Southern District of Georgia

In re:                                                                         Case No.: 18−10130−SDB
Diane Mance Bussey
       Debtor                                                                  Judge: Susan D. Barrett
                                                                               Chapter: 13


                ORDER ON MOTION FOR EXTENSION OF AUTOMATIC STAY


         Inasmuch as the Debtor has had one prior case under Chapter 13 of the Bankruptcy Code which was pending
within a twelve month period prior to the filing of the instant case, § 362(c)(3)(A) provides that the automatic stay
shall terminate with respect to the Debtor on the thirtieth day after filing. Although there is a presumption that
one−time refilers have not filed in good faith, they are permitted to overcome the presumption.

         Pursuant to 11 U.S.C. § 362(c)(3) after notice to all parties in interest and no responses having been filed,

        IT IS ORDERED that the automatic stay of 11 U.S.C. § 362 is extended and remains in full force and effect.




                                                            Susan D. Barrett
                                                            United States Bankruptcy Judge
                                                            Federal Justice Center
                                                            600 James Brown Blvd
                                                            P.O. Box 1487
                                                            Augusta, GA 30903


Dated February 16, 2018


GASB80 [02/09] CFT
